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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   07/19/2018
                                                                       :
N.T.C. et al.,                                                         :
                                                                       :
                                    Plaintiffs,                        :      18-CV-6428 (JMF)
                                                                       :
                  -v-                                                  :   MEMORANDUM OPINION
                                                                       :       AND ORDER
U.S. IMMIGRATION AND CUSTOMS                                           :
ENFORCEMENT et al.,                                                    :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X


JESSE M. FURMAN, United States District Judge:

        This case, which was filed on the evening of July 16, 2018, arises out of the

Government’s much-criticized decision earlier this year to separate immigrant parents who enter

the United States from their children. The policy has been the subject of intense political debate

and litigation, most prominently in a class action brought on behalf of immigrant parents in the

Southern District of California captioned Ms. L. v. U.S. Immigration and Customs Enforcement,

No. 18-CV-0428 (S.D. Cal.). On June 6, 2018, the Honorable Dana M. Sabraw, who is ably

presiding over that litigation, concluded that the plaintiffs stated a legally cognizable claim for

violation of their substantive due process rights to family integrity, and on June 26, 2018, he

granted a class-wide preliminary injunction requiring the Government to reunite parents with

their minor children by July 26, 2018. Since that time, Judge Sabraw has closely supervised the

reunification process and related matters. Most relevant for present purposes, on July 16, 2018,

he temporarily imposed a seven-day waiting period before members of reunified families could

be removed from the country, relief that had been sought by the plaintiffs to ensure that parents
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could consult with their children and counsel about legal options prior to removal.

       This case differs from Ms. L. in at least one significant respect: It is brought on behalf of

children who were separated from their parents and are now being held in New York State.

Plaintiffs in this case argue that the Government plans to detain them in facilities that do not

meet applicable legal standards or to repatriate them as a family unit with their parents, “thereby

depriving each child of his or her ability to pursue [his or her own] individual asylum and other

child immigrant claims.” (Docket No. 1 (“Compl.”), ¶ 3). Plaintiffs further claim that the

Government has taken to moving children across state lines without warning to counsel and

coercing parents into signing insufficiently informative waivers of their children’s due process,

asylum, and child immigrant rights. (Id.). Plaintiffs ultimately seek to ensure that each class

member has a meaningful opportunity to pursue asylum or other claims or, in the alternative, that

each class member has the opportunity to voluntarily, intelligently, and knowingly waive those

claims; they also seek to preserve class members’ ability to consult with their parents, close

family, and counsel about these decisions. More immediately, they seek injunctive relief barring

Defendants from removing any Plaintiff from New York State without providing (1) forty-eight

hours’ notice of the pending transfer and certain related information to the Plaintiff and his or her

counsel; and (2) an opportunity for the Plaintiff class member to consult with a parent or close

family member and counsel in order to protect the child’s ability to make informed decisions

about his or her legal rights and potential claims.1


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        On the evening of July 16, 2018, Judge Laura Taylor Swain, sitting in Part I, held a
hearing on Plaintiffs’ application for emergency relief and granted the application in part,
prohibiting the Government from removing putative class members represented by Legal Aid
from New York State without providing forty-eight hours’ notice of the forthcoming removal to
Plaintiffs and their counsel. The temporary restraining order expires today at 10 a.m. absent

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       These are substantial claims, but the question right now is not whether they have merit.

Instead, the question is whether they should considered in this forum or by Judge Sabraw in the

Southern District of California. Having considered the parties’ arguments — made during a

hearing held on the record on July 17, 2018, and in letters submitted the next day, (Docket Nos.

14-16; see also Docket No. 11) — and (with the parties’ consent) having consulted with Judge

Sabraw, the Court concludes for several reasons that Plaintiffs’ claims should be transferred to

the Southern District of California to be considered in conjunction with the claims in Ms. L.

First, the classes in the two cases concern the same families: Plaintiffs in this case seek relief on

behalf of children whose parents are class members in Ms. L. (Compare Order, Ms. L., ECF No.

82, at 17, with Compl., ¶ 66). Second, the relief Plaintiffs seek in this case is, at bottom, directly

related to the reunification process being supervised by Judge Sabraw. In essence, Plaintiffs here

contend that they have rights and interests distinct from the rights and interests of their parents

and that the reunification process, and Judge Sabraw’s own orders, do not adequately take their

distinct rights and interests into account.2 That may or may not be the case, but Judge Sabraw is

in a better position than this Court to decide those questions and to modify his own orders if

appropriate. And third, in the absence of a single judge presiding over both cases, there is a real



extension, modification, or vacatur by the undersigned.
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        For example, Plaintiffs claim that the mere act of reunification mandated by Judge
Sabraw’s orders may deprive them of access to protections set forth in the William Wilberforce
Trafficking Victims Protection Reauthorization Act of 2008, Pub. L. No. 110-457, 122 Stat.
5044, as those protections apply only to unaccompanied minors (which they are now) and not to
accompanied minors (which they would become upon reunification). (See Docket No. 14
(“Pls.’ Letter”), at 3-4). Further, Plaintiffs contend that they “have independent rights . . . that
are being extinguished, through apparent waivers” being signed by their parents — waivers that
may have been approved by the Ms. L. Court. (Id. at 7-8).

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risk of inconsistent decisions and conflicting orders — a particularly intolerable risk given the

gravity and urgency of the issues in these cases (and the prospect of similar litigation being filed

in other states where children separated from their parents are being held).

       The Court is, of course, mindful of the deference that is owed to a plaintiff’s choice of

forum. See, e.g., D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 106-07 (2d Cir. 2006). The

Court is also aware that transferring this case will cause some inconvenience to Plaintiffs and

Plaintiffs’ counsel, who are located in New York. (See Pls.’ Letter 9). Nevertheless, the Court

is confident that Judge Sabraw can and will take steps to mitigate that inconvenience. And in

any event, the inconvenience to Plaintiffs and Plaintiffs’ counsel is vastly outweighed by the

interests of justice, fairness, efficiency, and avoidance of conflict advanced by having a single

judge presiding over both cases. Accordingly, pursuant to Title 28, United States Code, Section

1404(a), the Court transfers this case to the Southern District of California. See, e.g., Cont’l

Grain Co. v. The Barge FBL-585, 364 U.S. 19, 26 (1960) (“To permit a situation in which two

cases involving precisely the same issues are simultaneously pending in different District Courts

leads to the wastefulness of time, energy and money that § 1404(a) was designed to prevent.”);

Wyndham Assocs. v. Bintliff, 398 F.2d 614, 619 (2d Cir. 1968) (recognizing a “strong policy

favoring the litigation of related claims in the same tribunal”); Stroud Prods. & Enters. v. Castle

Rock Entm’t, No. 07-CV-8638 (HB), 2009 WL 2391676, at *3 (S.D.N.Y. Aug. 4, 2009) (“[T]rial

efficiency and the interests of justice weigh heavily in favor of litigating all related causes of

action . . . in a single forum.” (citation omitted)). Further, to preserve the status quo, the

temporary relief granted by this Court on July 17, 2018, (Docket No. 9), is extended to give

Judge Sabraw an opportunity to consider Plaintiffs’ request for broader emergency relief. The


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parties should promptly present those issues to Judge Sabraw so that he can decide whether to

maintain, modify, or vacate the order granting temporary relief.

       The Clerk of Court is directed to transfer this action forthwith to the United States

District Court for the Southern District of California, to be assigned to Judge Sabraw. The Clerk

of Court is directed to effectuate the transfer immediately, notwithstanding Local Rule

83.1, and then to close the case in this Court.


       SO ORDERED.

Dated: July 19, 2018                                  __________________________________
       New York, New York                                      JESSE M. FURMAN
                                                             United States District Judge




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